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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEBORAH LITTLE, as                            )
Administrator of the Estate of                )      Civil Action No. 2:23-cv-00075
KENNETH VINYARD,                              )
                                              )      HONORABLE DAVID S. CERCONE
       Plaintiff,                             )
                                              )
       v.                                     )
                                              )
CENTER TOWNSHIP, a                            )
municipal corporation, and                    )
JOHN HAWK, in his individual capacity,        )
                                              )
       Defendants.                            )      Electronically Filed.

                                      Order of Court

       AND NOW, to wit, this 4th day of May, 2023, upon due

consideration of the within UNCONSTESTED PETITION TO APPROVE SETTLEMENT

AND ALLOCATION, it is hereby ORDERED as follows:

       A.       The Court approves the settlement of this case for Nine Hundred Fifty Thousand

       ($950,000) Dollars;

       B.       The Court approves the allocation of funds as follows:

                1.     Sixty (60 %) percent of the settlement funds (i.e. approximately Five
                       Hundred Seventy Thousand ($570,000) Dollars) shall be allocated to the
                       survival action;

                2.     Forty (40 %) percent of the settlement funds (i.e. approximately Three
                       Hundred Eighty Thousand ($380,000) Dollars) shall be allocated to the
                       wrongful death action;


       C.       The Court approves the counsel fee request for forty (40) percent of the

       aforementioned settlement amount. Counsel fees are approved in the amount of Three

       Hundred Eighty Thousand ($380,000) Dollars, payable to Plaintiff’s counsel, LAW

       OFFICES OF JOEL SANSONE;
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D.     The Court approves reimbursement to counsel for out of pocket expenses in the

amount of Six Thousand Six Hundred Fifty Five ($6,655) Dollars;

E.     The Court directs that the Plaintiff, DEBORAH LITTLE, is appointed custodian

in her capacity as Administrator of the Estate of Kenneth Vinyard for the purpose of

holding all settlement funds, after counsel fees, until the Court of Common Pleas of

Beaver County, Orphan’s Court division issues an appropriate Order related to the proper

disposition of such funds. The Court directs that all settlement funds shall be held in the

checking account of the Estate of Kenneth Vinyard until that time.




                                      s/David Stewart Cercone
                                      David Stewart Cercone
                                      Senior United States District Judge




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